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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA

                               Case No.: 21-cv-20012

 LAWRENCE STERN and
 DONNA STERN,

       Plaintiffs,
 vs.

 SK GOLDEN INVEST, LLC,
 SERGEY KUZNETSOV, and
 OLEG SEMENOV,

       Defendants.


                                   COMPLAINT

       Plaintiffs, Lawrence Stern and Donna Stern, sue Defendants, SK Golden

 Invest, LLC (“SK Golden”), Sergey Kuznetsov, and Oleg Semenov, and allege as

 follows.

                               Jurisdiction and Venue

       1.     This is an action for breach of a residential lease of a house located at

 250 Ocean Boulevard, Golden Beach, Florida, arising from the landlords’ refusal to

 deliver possession of the leased premises to the tenants Lawrence and Donna Stern.

       2.     This Court has jurisdiction over the subject matter of this action

 pursuant to 28 U.S.C. § 1332 because there is complete diversity between the

 Plaintiffs and Defendants and the amount in controversy exceeds $75,000.00,
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 exclusive of interest and costs.

        3.     This Court possesses personal jurisdiction over the Defendants because

 they are citizens of Florida and residents in this judicial district.

        4.     Venue is proper in this judicial district because Defendants reside

 within this judicial district.

                                        The Parties

        5.     Mr. and Mrs. Stern are citizens and residents of New York.

        6.     SK Golden is a limited liability company organized in Florida with its

 principal place of business in Florida. Its two members, Sergey Kuznetsov and

 Ekaterina Kuznetsova, are citizens of Florida and residents in this judicial district.

        7.     Mr. Kuznetsov is the managing member and registered agent for SK

 Golden.

        8.     Oleg Semenov is a citizen and resident of Florida and is joined as an

 indispensable party as a signatory to the contract, in his individual and representative

 capacities, that is the subject of this action.

                                    General Allegations

                   The house at 250 Ocean Boulevard, Golden Beach

        9.     Mr. and Mrs. Stern, residents of New York, wanted to spend their

 winter with family members in Florida. They searched for a suitable, single family

 home that could accommodate their entire family and with the assistance of Monica



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 Cohan, a Florida real estate broker, found a residence located at 250 Ocean

 Boulevard, Golden Beach, Florida, owned by SK Golden.

       10.      The newly-built house was designed by the internationally prominent

 architecture firm of Oppenheim Architecture that has received multiple distinctions

 and AIA Awards including the National Design Award for Interior Design by

 Cooper Hewitt, Smithsonian Design Museum. The design of the house at 250 Ocean

 Boulevard was inspired, according to its listing, by the French Polynesian Island of

 Bora Bora featuring tropical garden landscape, 4 terraces, master balcony, sun deck

 and outdoor kitchen allowing for indoor-outdoor living with a water view. The home

 has 6000 square feet under air conditioning with eight bedrooms, eight full baths,

 and two and one-half baths with a guest house and service quarters. Copies of the

 listing of the home with interior and exterior photographs are attached as Composite

 Exhibit “A”.

             The Residential Lease for the house at 250 Ocean Boulevard

       11.      On or about October 27, 2020, the parties entered into a Residential

 Lease for Single Family Home or Duplex (For a Term not to exceed one year)

 (“Residential Lease”), for the house at 250 Ocean Boulevard with SK Golden and

 Mr. Kuznetsov (collectively “the Landlords”). The term of the lease was to begin on

 December 1, 2020, and end on February 28, 2021, for a total rent of $135,000.00, or

 a monthly rent of $45,000.00. A copy of the Residential Lease is attached as Exhibit



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 “B”.

        12.   Mr. Semenov signed the Residential Lease on behalf of the Landlords

 and Mr. Stern signed the Residential Lease on behalf of the Sterns. Mr. Semenov

 also signed the Residential Lease as an agent.

        13.   The Residential Lease required the Sterns to pay $180,000.00 prior to

 occupancy, $45,000.00 of which was payable as a security deposit to an escrow

 agent designated in the Residential Lease. The Residential Lease also contained an

 early termination fee/liquidated damages addendum requiring the Sterns to pay the

 Landlords $90,000.00 as liquidated damages or an early termination fee if they

 elected to terminate the rental agreement. The Residential Lease also contained a

 provision entitling the prevailing party to attorneys’ fees “in any lawsuit brought to

 enforce Lease or under applicable law.”

         The Landlords’ refusal to deliver the house at 250 Ocean Boulevard

        14.   In anticipation of taking possession of the house at 250 Ocean

 Boulevard, the Sterns began preparing for their December 2020 occupancy by

 arranging for delivery of exercise equipment and food to the home, adding the

 property to their insurance coverage and making arrangements for their family to

 travel to Florida.

        15.   Mr. Stern wrote Mr. Semenov on November 5, 2020, to check on the

 progress of the house and for an update on the certificate of occupancy for their



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 approaching tenancy of the house at 250 Ocean Boulevard. Mr. Semenov promptly

 responded assuring Mr. Stern that “All is well! Will be ready 98%.”

       16.    Mr. Semenov subsequently telephoned Mr. Stern on November 25,

 2020, and obtained Mr. Stern’s agreement to move the start date, and all related

 obligations, of the Sterns’ tenancy at 250 Ocean Drive from December 1, 2020, to

 December 12, 2020, and the end date to March 15, 2021, instead of February 28,

 2021, to afford the Landlords additional time to prepare the home for the Sterns’

 arrival and to obtain the certificate of occupancy. The change to the Residential

 Lease was confirmed in a text message from Mr. Semenov to Ms. Cohan, Mr. Stern’s

 real estate broker, upon which Mr. Stern reasonably relied.

       17.    On December 10, 2020, Mr. Stern instructed Ms. Cohan to pick up the

 keys to the premises on December 11, 2020, for their arrival on the following day.

 The Sterns stood ready, willing and able as of December 1, 2020 and the extended

 date of December 12, 2020, to immediately wire the $135,000.00 payment to the

 Landlords, and $45,000.00 to the escrow agent, upon request from the Landlords

 and their confirmation that the house was ready for the Sterns’ occupancy and that

 the Landlords would deliver the house to the Sterns as agreed upon in the Residential

 Lease.

       18.    In a series of email exchanges on December 10, 2020, between Ms.

 Cohan and Mr. Semenov, and eventually between Ms. Cohan and Oleysa Trayber,



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 the “in house legal counsel for SK Golden”, Ms. Cohan was first informed by Mr.

 Semenov that “[t]he house is under contract! He can not take the possession of the

 house! There is no furniture and the house still not ready … I am sorry again its not

 depend on me!”.

          19.   Upon Ms. Cohan’s response to Mr. Semenov that the Sterns still

 expected possession of 250 Ocean Boulevard to be delivered to them on December

 12 and that legal action would follow in the event the Residential Lease was not

 complied with, Ms. Trayber wrote Ms. Cohan that “[t]he property did not obtain

 TCO yet; therefore, legally, now [sic] one can occupy the property” and that the

 delay was beyond her client’s control. Ms. Trayber did not make any statement about

 the home being under a sales contract. The Residential Lease was not contingent

 upon the issuance of a temporary certificate of occupancy and the Landlords were

 obligated by the Residential Lease to obtain a certificate of occupancy and otherwise

 comply with all the requirements of Golden Beach building, housing, and health

 codes.

          20.   The Landlords refused to deliver possession of the house at 250 Ocean

 Boulevard to the Sterns, leaving them to scramble in mid-December 2020, to find

 other suitable premises in order to salvage their plans to spend their Winter with their

 family in Florida.

          21.   The Sterns performed, in the time and in the manner required under the



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 Residential Lease, all of their obligations accrued as of the date of the filing of this

 complaint.

       22.    The Sterns have retained Mann & Wolf, LLP with respect to the

 Residential Lease that is the subject of this action and has retained undersigned

 counsel to prosecute this action. The Sterns are obligated to pay reasonable

 attorney’s fees for these legal services and are entitled to recover their reasonable

 attorney’s fees and costs from the Landlords under the Residential Lease.

       23.    All conditions precedent to this action have occurred, have been

 performed, or have otherwise been waived.

                      Count I – Breach of Lease Agreement
               against SK Golden, Mr. Kuznetsov and Mr. Semenov

       24.    Mr. Stern repeats the allegations in paragraphs 1 – 23.

       25.    The Landlords breached the Residential Lease by failing to deliver the

 house at 250 Ocean Boulevard, Golden Beach to the Sterns pursuant to the terms of

 the Residential Lease causing them damages.

       26.    The Sterns are entitled to recover damages from the Landlords

 including, without limitation, the additional rent the Sterns were obligated to pay to

 obtain an alternative residence for their Winter residency in Florida in mid-

 December, their damages resulting as a direct consequence of the Landlords’ breach

 of the Residential Lease, the costs of changes to their travel arrangements, the lost

 food delivery, their attorneys’ fees incurred in reviewing the lease for the alternative

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 residence, their attorneys’ fees in enforcing the Residential Lease and for any claim

 of commission by Mr. Semenov.

       Wherefore, Plaintiffs Lawrence and Donna Stern request entry of judgment

 against the Landlords for their direct and consequential damages, prejudgment

 interest, attorneys’ fees and costs and such further relief that is just and appropriate.

         Count II – Intentional Misrepresentation against Mr. Semenov
                            (Pled in the alternative)

       27.    Mr. Stern repeats the allegations in paragraphs 1 – 23.

       28.    To the extent that the Landlords claim that Mr. Semenov did not have

 authority to enter into the Residential Lease, then Mr. Semenov’s signing the

 Residential Lease on behalf of the Landlords as their agent, and representing to the

 Sterns his authority to sign on behalf of the Landlords constitutes an intentional

 representation of his authority that was false.

       29.    Mr. Semenov made the representation with the intent to induce the

 Sterns to rely on it, and the Sterns reasonably relied on the representation to their

 detriment and suffered damages as a result, entitling the Sterns to damages from Mr.

 Semenov, including, without limitation, the additional costs of the Sterns obtaining

 an alternative residence for their Winter residency in Florida, their damages resulting

 as a direct consequence of the Landlords’ disavowal of the Residential Lease, the

 costs of changes to their travel arrangements, the lost food delivery, any claims for

 commissions, their attorneys’ fees incurred in reviewing the lease for the Sterns’

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 alternative residence, and their attorneys’ fees in enforcing the Residential Lease.

       Wherefore, Plaintiffs Lawrence and Donna Stern request entry of judgment

 against Oleg Semenov for their direct and consequential damages, prejudgment

 interest, attorneys’ fees and costs and such further relief that is just and appropriate.

 Dated: January 4, 2021.

                                   JURY DEMAND

       Plaintiffs demand trial by jury on all issues so triable.

                                          Respectfully submitted,

                                          WEISSMAN & DERVISHI, P.A.

                                          By:    /s/ Brian S. Dervishi
                                                Brian S. Dervishi
                                                Peter A. Tappert
                                          Florida Bar Nos. 350303 and 27100
                                          SunTrust International Center
                                          One Southeast Third Avenue, Suite 1700
                                          Miami, Florida 33131
                                          305-347-4070 (Telephone)
                                          305-347-4077 (Facsimile)
                                          bdervishi@wdpalaw.com
                                          ptappert@wdpalaw.com
                                          service@wdpalaw.com

                                          Attorneys for Lawrence Stern and Donna
                                          Stern




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